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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF
                              ILLINOIS EASTERN DIVISION

                              )
CUSTOM ACCESSORIES INC.,
                              )
                              )
               Plaintiff,     )                         Civil Case No. 14-CV-09455
        v.                    )
                              )                         Honorable Joan H. Lefkow
PREMIER ACCESSORY GROUP, LLC, )
                              )
               Defendant.     )
                              )


                                  STIPULATION OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and 41(c), and pursuant to the Parties’ confidential

settlement agreement of this matter, all parties that have appeared hereby stipulate that the above-

captioned action, including any counter-claims, be dismissed, with prejudice, with each party to bear

its own attorneys’ fees, costs and expenses.




By: _/s/ Gregory C. Bays_ Date: 9/10/15              By: _/s/Michael F. Sarney_ Date: 9/10/15

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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 10, 2015, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system, which sent notification of such filing to

all counsel of record.




       Dated: September 10, 2015                                   /s/ Elias P. Soupos
